
















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-38,433-03






EX PARTE BRUCE KEVIN JOHNSON, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. W08-32580-N (A) IN THE 195TH  DISTRICT COURT


FROM DALLAS COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault of a child and sentenced to sixty-five years' imprisonment. 

	On May 15, 2012, the trial court made findings of fact and conclusions of law 
recommending that relief be denied.  This Court has reviewed the record with respect to the
allegations made by Applicant.  We adopt the trial court's findings and conclusions of law, except
for finding #4.  Based upon the trial court's findings and conclusions and our own review, we deny
relief.

Filed: September 12, 2012

Do not publish


